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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 WATCHY TECHNOLOGY PRIVATE                   :
 LIMITED,                                    :
                                             :
      Plaintiff,                             :
                                                           Case No. 22-725-CJB
                                             :
 v.                                          :
                                             :
                                                       JURY TRIAL DEMANDED
 TATA COMMUNICATIONS (AMERICA)               :
 INC.,                                       :
                                             :
      Defendant.

                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on May 30, 2023, a copy of Plaintiff’s First Set of

Requests for Production to Defendant Tata Communications (America) Inc. (Nos. 1-56) was

served on the following counsel via email:

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Dated: May 30, 2023                 PHILLIPS MCLAUGHLIN & HALL, P.A.

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